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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                                      )
REFUGEE AND IMMIGRANT CENTER FOR                      )
EDUCATION AND LEGAL SERVICES, 131                     )
Interpark Blvd. San Antonio, TX 78216;                )
                                                      )
                                                      )
LAS AMERICAS IMMIGRANT ADVOCACY                       )
CENTER, 1500 E. Yandell Dr., El Paso, TX 79902; )         No.
                                                      )
FLORENCE IMMIGRANT & REFUGEE RIGHTS                   )
PROJECT, P.O. Box 86299, Tucson, AZ 85754;            )
                                                      )
Plaintiffs,                                           )   COMPLAINT
                                                      )
v.                                                    )
                                                      )
KRISTI NOEM, Secretary of the U.S. Department of )
Homeland Security, in her official capacity, 245      )
Murray Lane SW, Washington, DC 20528                  )
                                                      )
U.S. DEPARTMENT OF HOMELAND SECURITY, )
245 Murray Lane SW, Washington, DC 20528;             )
                                                      )
PETE R. FLORES, Senior Official Performing the        )
Duties of the Commissioner for U.S. Customs and       )
Border Protection, in his official capacity,          )
U.S. Customs and Border Protection                    )
1300 Pennsylvania Ave. NW                             )
Washington, DC 20229;                                 )
                                                      )
MICHAEL BANKS, Chief of U.S. Border Patrol, in )
his official capacity, 1300 Pennsylvania Ave. NW, )
Washington, DC 20229;                                 )
                                                      )
DIANE SABATINO, Acting Executive Assistant            )
Commissioner, CBP Office of Field Operations, in      )
her official capacity, 1300 Pennsylvania Ave. NW, )
Washington, DC 20229;                                 )
                                                      )
U.S. CUSTOMS AND BORDER PROTECTION,                   )
1300 Pennsylvania Ave. NW, Washington, DC             )
20229;                                                )
                                                      )
CALEB VITELLO, Acting Director of U.S.                )
Immigration and Customs Enforcement, in his           )
official capacity, 500 12th St., SW, Washington, D.C. )
20536;                                                )
                                                      )
                                                      )
                                                      )
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U.S. IMMIGRATION AND CUSTOMS                         )
ENFORCEMENT, 500 12th St. SW, Washington,            )
DC 20536;                                            )
                                                     )
MARCO RUBIO, Secretary of the U.S. Department )
of State, in his official capacity, 2201C St. NW,    )
Washington, DC 20520;                                )
                                                     )
U.S. DEPARTMENT OF STATE, 2201C St. NW,              )
Washington, DC 20520;                                )
                                                     )
JAMES MCHENRY, Acting Attorney General of the )
United States, in his official capacity, 950         )
Pennsylvania Ave. NW, Washington, DC, 20530;         )
                                                     )
U.S. DEPARTMENT OF JUSTICE, 950                      )
Pennsylvania Ave. NW, Washington, DC, 20530;         )
                                                     )
DONALD J. TRUMP, President of the United States, )
in his official capacity, 1600 Pennsylvania Ave. NW, )
Washington, DC 20220;                                )
                                                     )
Defendants.                                          )
                                                     )
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                                       INTRODUCTION

       1.      Via the Immigration and Nationality Act (“INA”), Congress has created a

comprehensive statutory system allowing noncitizens fleeing persecution or torture to seek

protection in the United States. Congress has given these individuals statutory rights to apply for

asylum and other protections. And it has prohibited the government from returning these

individuals to places where they face persecution or torture. Congress, too, has enacted an

exclusive set of procedures for removing noncitizens from the United States and adjudicating their

claims for protection. In doing all this, Congress has struck a careful balance between the interest

in quickly removing those who cannot qualify for protection and the need to ensure that people are

not wrongfully placed at risk of persecution or torture in another country.

       2.      This suit concerns the Executive Branch’s attempt to wipe away these statutes by

fiat. On January 20, 2025, the President issued a proclamation that purports to prohibit noncitizens

“from invoking [these] provisions of the INA … , including” the asylum statute. Proclamation

10888, § 2, Guaranteeing the States Protection Against Invasion, 90 Fed. Reg. 8333 (Jan. 20,

2025) (“Proclamation”). And under the Proclamation, the government is doing just what Congress

by statute decreed that the United States must not do. It is returning asylum seekers—not just single

adults, but families too—to countries where they face persecution or torture, without allowing

them to invoke the protections Congress has provided. Indeed, the Proclamation does not even

exempt unaccompanied children, despite the specific protections such children receive by statute.

       3.      The Proclamation is as unlawful as it is unprecedented. Principally, it invokes

Section 212(f) of the INA, 8 U.S.C. § 1182(f), which authorizes the President to “suspend the

entry” of “all [noncitizens] or any class of [noncitizens]” “as immigrants or nonimmigrants” when

their entry “would be detrimental to the interests of the United States.” But this authority to



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“suspend entry” on its face does not empower the President to summarily expel noncitizens already

physically present in the United States, much less to do so in violation of the protections and

procedures Congress provided in the INA. That is why the Executive Branch for four decades has,

without exception and across administrations, concluded that Section 212(f) does not authorize the

President to displace rights to seek asylum or other statutory protections. That solid wall of

authority includes a 1984 opinion from then-Assistant Attorney General of the Office of Legal

Counsel Theodore B. Olson; a 2018 regulation promulgated by the Departments of Justice and

Homeland Security of then-President Trump; and a 2024 regulation promulgated by the same

Departments under then-President Biden. Nor does the other statutory provision that the

Proclamation invokes, INA § 215(a)(1), 8 U.S.C. § 1185(a)(1), provide the President with

authority to unilaterally override the protections Congress has afforded those fleeing da nger.

       4.      Insofar as the Proclamation suggests that the President has constitutional authority

to declare an “invasion” and thereby displace Congress’s statutes, this case presents an even more

extreme example of presidential overreach than the one the Supreme Court struck down in

Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 582 (1952). Whatever the outer limits of

the President’s constitutional authorities, they do not confer a preclusive power that permits the

President to dispense with the statutes relevant here. And immigration—even at elevated levels—

is not an “invasion.”

       5.      “[T]his wolf comes as a wolf.” Morrison v. Olson, 487 U.S. 654, 699 (1988)

(Scalia, J., dissenting). If the Proclamation may lawfully abrogate the statutory protections at issue

here, then every future President may sweep away at whim the protections that Congress provided

in the INA. Our separation of powers rebels at that idea.




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                                JURISDICTION AND VENUE

       6.      This case arises under the Administrative Procedure Act, 5 U.S.C. § 551 et seq.;

the INA, 8 U.S.C. § 1101 et seq., and its implementing regulations; the Foreign Affairs Reform

and Restructuring Act of 1998 (“FARRA”), Pub. L. No. 105-277, Title XXII, § 2242, 112 Stat.

2681, 2681-822 (1998) (codified as Note to 8 U.S.C. § 1231), and its implementing regulations;

the Trafficking Victims Protection Reauthorization Act (“TVPRA”), 8 U.S.C. § 1232; and the

United States Constitution.

       7.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331. See also 8

U.S.C. § 1252(e)(3). Because this suit seeks relief other than money damages and instead

challenges Defendants’ unlawful actions, the United States has waived sovereign immunity from

this suit. 5 U.S.C. § 702.

       8.      Venue is proper under 28 U.S.C. § 1391(e)(1) because Defendants are officers of

the United States acting in their official capacity and agencies of the United States, Defendants

reside in this District, and a substantial part of the events or omissions giving rise to the claim

occurred in this District. See also 8 U.S.C. § 1252(e)(3).

                                            PARTIES

   A. Plaintiffs

       9.      Plaintiff Refugee and Immigrant Center for Education and Legal Services

(“RAICES”) is a nonprofit, non-partisan organization headquartered in San Antonio, Texas.

RAICES’ mission is to defend the rights of immigrants and refugees; empower individuals,

families, and communities of immigrants and refugees; and advocate for liberty and justice.

RAICES provides free and low-cost immigration legal services to underserved immigrants—

including adults, families, and unaccompanied noncitizen children seeking asylum and related



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protections—and is the largest immigration legal services provider in Texas. A central aspect of

RAICES’ work is providing legal services to migrants seeking asylum and other statutory

protections upon crossing the border. The summary expulsion of migrants under the Proclamation

without access to asylum or other statutory protections significantly impedes RAICES’ core work.

       10.     Plaintiff Las Americas Immigrant Advocacy Center (“Las Americas”) is a

nonprofit legal services organization based in El Paso, Texas, dedicated to serving the legal needs

of low-income immigrants, including asylum seekers, in Texas and in New Mexico. An essential

part of Las Americas’ work is providing pro se and limited forms of legal assistance to adult

immigrants detained in the Immigration and Customs Enforcement (“ICE”) El Paso jurisdiction,

including immigration counseling and legal services to asylum seekers. This work includes

assisting asylum seekers in preparing for asylum fear interviews and representing them both during

those interviews and throughout the subsequent review process. In 2024, Las Americas staff and

volunteers provided approximately 197 credible fear interview orientations. Las Americas also

provides direct representation to people seeking asylum and other forms of protection in

immigration court. The summary expulsion of asylum seekers under the Proclamation without

access to asylum or other statutory protections significantly impedes Las Americas’ core work.

       11.     Plaintiff Florence Immigrant & Refugee Rights Project (“Florence Project”) is a

nonprofit organization headquartered in Tucson, Arizona, with additional offices in Phoenix and

Florence, Arizona. The Florence Project provides free legal and social services to detained adults

and unaccompanied children facing removal proceedings in Arizona. The Florence Project

provides direct representation to people seeking asylum and other forms of protection and also

provides “Know Your Rights” trainings and other forms o f pro se assistance to immigrants

detained in Arizona. In recent years, the Florence Project has served over 10,000 detained adults



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and children annually, many of whom are seeking asylum and other forms of protection. The

summary expulsion of asylum seekers under the Proclamation without access to asylum or other

statutory protections significantly impedes the Florence Project’s core work.

   B. Defendants

       12.      Defendant United States Department of Homeland Security (“DHS”) is a cabinet-

level Department of the federal government. DHS and its components, Immigration and Customs

Enforcement (“ICE”) and Customs and Border Protection (“CBP”), are the agencies of the federal

government principally charged with implementing and enforcing the Proclamation.

       13.      Defendant Kristi Noem is the Secretary of DHS. Defendant Noem is sued in her

official capacity. In that capacity, Defendant Noem is responsible for overseeing enforcement and

implementation of the Proclamation by all DHS personnel.

       14.      Defendant CBP is the DHS component responsible for the initial processing and

detention of noncitizens who are apprehended at or between U.S. ports of entry.

       15.      Defendant Pete R. Flores is the Senior Official Performing the Duties of the

Commissioner of CBP. Defendant Flores is sued in his official capacity. In that capacity,

Defendant Flores is responsible for overseeing CBP personnel implementing and enforcing the

Proclamation.

       16.      Defendant ICE is the DHS component responsible for carrying out removal orders

and overseeing immigration detention.

       17.      Defendant Caleb Vitello is the Acting Director of ICE. Defendant Vitello is sued

in his official capacity. In that capacity, Defendant Vitello is responsible for ICE’s implementation

and enforcement of the Proclamation.

       18.      Defendant Michael Banks is the Chief of U.S. Border Patrol. The Border Patrol is



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responsible for border security between ports of entry. Defendant Banks is sued in his official

capacity. In that capacity, Defendant Banks is responsible for implementing and enforcing the

Proclamation between ports of entry.

       19.     Defendant Diane Sabatino is the Acting Executive Assistant Commissioner of the

CBP Office of Field Operations (“OFO”). OFO is the largest component of CBP and is responsible

for border security, including immigration and travel through U.S. ports of entry. Defendant

Sabatino is sued in her official capacity. In that capacity, Defendant Sabatino is responsible for

implementing and enforcing the Proclamation at ports of entry.

       20.     Defendant United States Department of State (“State Department” or “State”) is a

cabinet-level Department of the federal government. The State Department is charged with

assisting DHS in implementing and enforcing the Proclamation.

       21.     Defendant Marco Rubio is the Secretary of State. He is sued in his official capacity.

In that capacity, Defendant Rubio is responsible for working alongside Defendant Noem to

implement and enforce the Proclamation.

       22.     Defendant United States Department of Justice (“DOJ”) is a cabinet-level

Department of the federal government. DOJ is charged with assisting DHS in implementing and

enforce the Proclamation.

       23.     Defendant James McHenry is the Acting Attorney General of the United States, the

principal officer in charge of DOJ. He is sued in his official capacity. In that capacity, Defendant

McHenry is charged with assisting DHS in implementing and enforcing the Proclamation.

       24.     Defendant Donald J. Trump is the President of the United States. He is sued in his

official capacity. In that capacity, he issued the Proclamation challenged in this lawsuit and

oversees its implementation and enforcement.



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                                              FACTS

    I.         Legal Background

         25.     The United States has long sheltered refugees seeking a haven from persecution,

and the Refugee Act of 1980, Pub. L. No. 96-212, 94 Stat. 102, enshrined that national commitment

in the general asylum statute. The Refugee Act, as modified over time, reflects “one of the oldest

themes in America’s history—welcoming homeless refugees to our shores,” and it “gives statutory

meaning to our national commitment to human rights and humanitarian concerns….” S. Rep. No.

96-256, at 1 (1979), reprinted in 1980 U.S.C.C.A.N. 141. One of Congress’s “primary purposes”

was “to bring United States refugee law into conformance” with international refugee treaties and

the bedrock principle that individuals may not be returned to countries where they face persecution

or torture. INS v. Cardoza-Fonseca, 480 U.S. 421, 436 (1987).

         A.      Congress’s Three Forms of Protection for Individuals Fleeing Persecution or
                 Torture.

         26.     Federal law provides three primary forms of protection for individuals fleeing

persecution or torture: asylum under 8 U.S.C. § 1158; withholding of removal under 8 U.S.C.

§ 1231(b)(3); and protection under the Convention Against Torture (“CAT”), see 8 U.S.C. § 1231

note. All three forms of protection are available to noncitizens who are inadmissible under the

INA. Indeed, withholding of removal and CAT protection are available only to individuals who

receive orders of removal—and they are mandatory for individuals who qualify .

         27.     First, “[a]ny [noncitizen] who is physically present in the United States or who

arrives in the United States (whether or not at a designated port of arrival … ), irrespective of such

[noncitizen’s] status,” may apply for asylum. 8 U.S.C. § 1158(a)(1). Both DHS and DOJ have

promulgated regulations implementing this provision. See, e.g., 8 C.F.R. § 208.13 (DHS); 8 C.F.R.

§ 1208.13 (DOJ). To qualify for asylum, a noncitizen must show a “well-founded fear of


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persecution” on account of “race, religion, nationality, membership in a particular social group, or

political opinion.” 8 U.S.C. § 1101(a)(42).

       28.     Section 1158 contains a handful of narrow bars to asylum eligibility. See 8 U.S.C.

§ 1158(a)(2), (b)(2)(A). The Secretary of Homeland Security and the Attorney General “may by

regulation establish additional limitations and conditions” on asylum eligibility, but only if those

limitations and conditions are “consistent with” the asylum statute. Id. § 1158(b)(2)(C); see id.

§ 1158(d)(5)(B) (the Secretary and the Attorney General “may provide by regulation for any other

conditions or limitations on the consideration of an application for asylum not inconsistent with

this chapter”); Homeland Security Act of 2002, Pub. L. 107-296, 116 Stat. 2135 (transferring many

functions relating to federal immigration law to the Secretary of Homeland Security).

       29.     Second, via the withholding of removal statute, Congress has prohibited the

government from removing a noncitizen “to a country if … the [noncitizen’s] life or freedom

would be threatened in that country because of the [noncitizen’s] race, religion, nationality,

membership in a particular social group, or political opinion.” 8 U.S.C. § 1231(b)(3)(A). This form

of relief requires the applicant to meet a higher burden on the likelihood of harm—showing that it

is more likely than not to occur. INS v. Stevic, 467 U.S. 407, 429-30 (1984). But where the

applicant makes this showing, protection is mandatory. This mandatory protection is required by

treaty obligations under the 1951 Refugee Convention and the 1967 Protocol relating to the Status

of Refugees. See Cardoza-Fonseca, 480 U.S. at 429, 432-35, 436-38.

       30.     Third, the CAT, implemented by FARRA, prohibits the government from returning

a noncitizen “to a country in which there are substantial grounds for believing the person would

be in danger of being subjected to torture.” 8 U.S.C. § 1231 note. Both DHS and DOJ have

promulgated implementing regulations under which applicants carry their burden to show an



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entitlement to relief if they establish “that it is more likely than not that [they] … would be tortured

if removed to the proposed country of removal.” 8 C.F.R. § 208.16(c) (DHS); see 8 C.F.R.

§ 1208.16(c) (DOJ); see also 8 C.F.R. § 208.18(a)(2) (defining “torture” for purposes of the CAT).

        B.      Congress’s Procedures For Removing Noncitizens.

        31.     Congress has also carefully specified the procedures by which noncitizens may be

removed from the United States. These procedures are designed to ensure that noncitizens have a

fair chance to present claims for asylum, withholding of removal, and CAT protection.

        32.     “Unless otherwise specified” in the INA, a removal proceeding before an

immigration judge (“IJ”) under 8 U.S.C. § 1229a is “the sole and exclusive procedure” by which

the government may determine whether to remove an individual. 8 U.S.C. § 1229a(a)(3).

Noncitizens in these proceedings receive full hearings in immigration court and have a host of

procedural rights, including the right to adversarial hearings before immigration judges and the

right to retain and be represented by counsel. Noncitizens can contest the factual and legal

allegations against them and apply for relief from removal. They also receive the opportunity for

appellate review before the Board of Immigration Appeals and a federal court of appeals. 8 U.S.C.

§§ 1229a, 1252(a) et seq.

        33.     In 1996, Congress established expedited removal to “substantially shorten and

speed up the removal process” for certain noncitizens arriving without immigration documents.

Make the Rd. N.Y. v. Wolf, 962 F.3d 612, 618 (D.C. Cir. 2020); see 8 U.S.C. § 1225(b)(1).

Expedited removal by statute applies only to a limited class of noncitizens who are inadmissible

because they lack valid entry documents (such as visas) or attempt to enter by fraud or

misrepresentation. 8 U.S.C. § 1225(b)(1)(A); id. § 1182(a)(6)(C), (a)(7). Historically, these

expedited removal procedures have been applied to certain noncitizens who arrive at a port of entry

or are apprehended near the border after entering without inspection.

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       34.     When Congress created the expedited removal system, it balanced its desire to

facilitate “efficient removal” against “a second, equally important goal: ensuring that individuals

with valid asylum claims are not returned to countries where they could face persecution.” Grace

v. Barr, 965 F.3d 883, 902 (D.C. Cir. 2020). Thus, Congress took care to safeguard access to

asylum by ensuring that noncitizens were screened to determine whether they had a “credible fear”

of returning to their country of origin. Specifically, if a noncitizen expresses the intention to seek

asylum or a fear of removal, they are entitled to an interview with an asylum officer, the outcome

of which is subject to review by an immigration judge. Additionally, the statute requires the

Attorney General to “provide information concerning the asylum interview described in this

subparagraph to [noncitizens] who may be eligible.” 8 U.S.C. § 1225(b)(1)(B)(iv). And a

noncitizen “who is eligible for such interview may consult with a person or persons of the

[noncitizen]’s choosing prior to the interview or any review thereof.” Id. The purpose of the

interview is to screen fear claims. Noncitizens pass the screening standard if they establish a

“credible fear” of returning to their country of origin, defined by statute as a “significant

possibility” that the individual “could establish eligibility for asylum” in removal proceedings. Id.

§ 1225(b)(1)(A)(ii), (b)(1)(B)(v). Once the noncitizen shows a credible fear—a “low screening

standard,” 142 Cong. Rec. 25,347 (1996)—they are entitled to a full removal hearing (with

administrative and judicial review) in which to attempt to make out their asylum claim.

       35.     By contrast, if the asylum officer finds no credible fear, the noncitizen can request

review of that decision by an immigration judge. If the IJ disagrees with the asylum officer and

finds a credible fear, the noncitizen is then placed in regular removal proceedings under 8 U.S.C.

§ 1229a. 8 C.F.R. § 1208.30(g)(2)(iv)(B). If, however, the IJ affirms the asylum officer’s adverse

finding, the applicant is subject to removal “without further hearing or review.” 8 U.S.C.



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§ 1225(b)(1)(A)(i), (B)(iii); see id. § 1252(a)(2)(A), (e).

       36.     The credible fear interview is also used to screen claims for withholding of removal

and CAT relief.

       37.     Unaccompanied noncitizen children, whom the Proclamation does not exempt,

have special statutory protections under the INA and the TVPRA. Under those laws,

unaccompanied noncitizen children, except those from Mexico and Canada, may not be placed

into expedited removal proceedings and instead “shall” be placed in full removal proceedings in

immigration court where they may seek various forms of relief, including protection from

persecution or torture. 8 U.S.C. § 1232(a)(5)(D).

       38.     Over the past decade, the federal government has repeatedly sought to limit

eligibility for asylum and to limit the procedural protections for individuals seeking asylum and

other forms of protection, invoking the statutory authority of the DHS Secretary and the Attorney

General to create additional limitations and conditions on asylum and applications for asylum.

Overwhelmingly, courts have invalidated those attempts. See, e.g., East Bay Sanctuary Covenant

v. Biden, 993 F.3d 640, 669-70 (9th Cir. 2021). And none of those attempts have gone nearly as

far as the Proclamation.

       39.     In 2024, a bipartisan group of lawmakers crafted legislation that would have

provided “border emergency authority” to limit access to asylum and streamline removal

procedures when encounters at the southern border exceeded certain thresholds. See Border Act of

2024, S. 118-4361 (May 16, 2024). That legislation spurred fierce debate, but it never became law.

       C.      Sections 212(f) and 215(a)(1) of the Immigration and Nationality Act.

       40.     The Proclamation relies principally on Section 212(f) of the INA. That section

provides: “Whenever the President finds that the entry of any [noncitizens] or of any class of



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[noncitizens] into the United States would be detrimental to the interests of the United States, he

may by proclamation, and for such period as he shall deem necessary, suspend the entry of all

[noncitizens] or any class of [noncitizens] as immigrants or nonimmigrants, or impose on the entry

of [noncitizens] any restrictions he may deem to be appropriate.” 8 U.S.C. § 1182(f).

       41.     Congress first enacted Section 212(f) in the Immigration and Nationality Act of

1952, Pub. L. No. 82-414, § 212(e), 66 Stat. 163, 188 (“1952 Act”). The 1952 Act long predates

Congress’s creation of the comprehensive set of protections from removal that exist today.

       42.     Section 212(f) does not empower the President to expel noncitizens from the United

States, much less to do so in a manner that contradicts the specific restrictions on the removal of

noncitizens that Congress imposed elsewhere in the INA, including the asylum statute, the

withholding of removal statute, FARRA, TVPRA, and the expedited removal statute.

       43.     Noncitizens who are “physically present” or “arrive[] in” the United States have a

statutory right to apply for asylum. 8 U.S.C. § 1158(a)(1). So while Section 212(f) authorizes the

President to suspend “entry,” it does not authorize the President to override the asylum rights of

noncitizens who are already physically present in the United States. Likewise, even if the President

suspends the entry of certain noncitizens, Section 212(f) does not authorize the removal of

noncitizens in contravention of Congress’s direction that the government “may not remove [a

noncitizen] to a country if … [their] life or freedom would be threatened in that country” on

protected grounds, 8 U.S.C. § 1231(b)(3)(A), or to a country in which “it is more likely than not

that he or she would be tortured” upon removal, 8 C.F.R. § 208.16(c)(2).

       44.     Not until 1981 did a President invoke Section 212(f). See Kelsy Y. Santamaria et

al., Cong. Rsch. Serv., Presidential Authority to Suspend Entry of Aliens Under 8 U.S.C. § 1182(f),

at 22 (2024) (“CRS Report”). Ever since, Presidents have invoked Section 212(f) to render



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noncitizens inadmissible. See id. at 4-22. Never has a President invoked Section 212(f) to expel

individuals who are already physically present in the United States or to bar such individuals from

seeking relief from removal.

       45.     Since 1981, the Executive Branch has expressly and repeatedly recognized that

Section 212(f) does not permit the President to alter the asylum rights and procedures that Congress

enacted elsewhere in the INA.

       46.     In 1984, then-Assistant Attorney General for the Office of Legal Counsel, Theodore

B. Olson, considered whether Section 212(f) permitted the President to “eliminate the asylum

rights of noncitizens who had hijacked a plane and, as a condition of the plane’s release, been

flown to the United States.” Securing the Border, 89 Fed. Reg. 81156, 81163 n.53 (Oct. 7, 2024).

In 1984, the 1980 Refugee Act provided only that the “Attorney General shall establish a procedure

for [noncitizens] physically present in the United States or at a land border or port of entry,

irrespective of such [noncitizen’s] status, to apply for asylum.” Pub. L. No. 96-212, § 208(a), 94

Stat. 102, 105 (1980). Even so, Assistant Attorney General Olson determined that Section 212(f)

did not permit the President to displace the asylum statute. 89 Fed. Reg. at 81163 n.53.

       47.     Congress subsequently amended the asylum statute to its present form, expressly

providing that “[a]ny [noncitizen] who is physically present in the United States or who arrives in

the United States (whether or not at a designated port of arrival and includ ing a [noncitizen] who

is brought to the United States after having been interdicted in international or United States

waters), irrespective of such [noncitizen’s] status, may apply for asylum in accordance with this

section or, where applicable, section 1225(b) [of this title].” Act of 1996, Pub L. No. 104-208,

Div. C, Title VI, § 604(a), 110 Stat. 3009-690 (1996). In 1996, Congress comprehensively

overhauled the immigration laws, including by creating the expedited removal system. Congress



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never, however, amended Section 212(f) to permit the President to abrogate the rights Congress

had provided via the asylum statute and other forms of protection.

       48.     “Although Presidents have invoked section 212(f) at least 90 times since 1981 …

none of those proclamations were understood to affect the right of noncitizens to apply for, or

noncitizens’ statutory eligibility to receive, asylum.” 89 Fed. Reg. at 81163 n.53 (Securing the

Border rule discussing the history of presidential invocations of Section 212(f)).

       49.     In 2018, during President Trump’s first term, his Administration recognized that a

proclamation under Section 212(f) did not affect asylum rights. President Trump had issued a

Section 212(f) proclamation suspending the entry of noncitizens between southern border ports of

entry. Proclamation 9822, Addressing Mass Migration Through the Southern Border of the United

States, 83 Fed. Reg. 57661, 57663 (Nov. 9, 2018). DHS and DOJ, however, conceded that a

noncitizen “whose entry is suspended or restricted under … a [Section 212(f)] proclamation, but

who nonetheless reaches U.S. soil contrary to the President’s determination that the [noncitizen]

should not be in the United States, would remain subject to various procedures under immigration

laws[,]’’ including ‘‘expedited-removal proceedings’’ in which they could “raise any claims for

protection[.]” Aliens Subject to a Bar on Entry Under Certain Presidential Proclamations;

Procedures for Protection Claims, 83 Fed. Reg. 55934, 55940 (Nov. 9, 2018). The Departments

therefore invoked separate regulatory authority under the asylum statute itself to promulgate

regulations that purported to deem ineligible for asylum noncitizens who entered in violation of

the proclamation. Id. at 55952 (codified at 8 C.F.R. § 208.13(c)(3) (DHS) and 8 C.F.R.

§ 1208.13(c)(3) (DOJ)). Those regulations were enjoined and ultimately vacated as violating

Congress’s directive that any “additional limitations and conditions” on asylum eligibility must be

“consistent with” the remainder of the asylum statute. E. Bay Sanctuary Covenant v. Trump, 932



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F.3d 742, 771-73 (9th Cir. 2018) (affirming injunction of regulations); see OA v. Trump, 404 F.

Supp. 3d 109 (D.D.C. 2019) (vacating regulations).

       50.     In 2024, DHS and DOJ reaffirmed what had “been the Executive Branch’s

consistent position for four decades” and recognized that a proclamation under Section 212(f)

“cannot affect noncitizens’ right to apply for asylum, their eligibility for asylum, or asylum

procedures.” 89 Fed. Reg. at 81163. This “longstanding understanding,” the government

explained, “follow[ed] from the text and structure of the governing statutes.” Id.

       51.     In Trump v. Hawaii, 585 U.S. 667 (2018), the Supreme Court considered a

proclamation that imposed a “travel ban” on noncitizens from certain countries, issued pursuant to

Section 212(f). That proclamation rendered the impacted noncitizens inadmissible but did not

override their right to seek asylum or other forms of protection that Congress has protected by

statute. And while the Supreme Court, in upholding that proclamation, noted the “broad discretion”

that Section 212(f) conferred, the Court “assume[d]”—consistent with the Executive Branch’s

longstanding position—that Section 212(f) “does not allow the President to expressly override

particular provisions of the INA.” 585 U.S. at 689.

       52.     The other provision on which the Proclamation relies, INA § 215(a)(1), 8 U.S.C

§ 1185(a)(1), likewise does not authorize the President to abrogate the protections that the INA

provides to noncitizens present in the United States. Section 1185(a)(1) provides that, “[u]nless

otherwise ordered by the President, it shall be unlawful … for any [noncitizen] to depart from or

enter or attempt to depart from or enter the United States except under such reasonable rules,

regulations, and orders, and subject to such limitations and exceptions as the President may

prescribe.” 8 U.S.C. § 1185(a)(1).

       53.     As with Section 212(f), the authority under Section 215(a)(1) to condition entry on



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“such reasonable rules, regulations, and orders, and subject to such limitations and exceptions as

the President may prescribe” does not authorize the President to abrogate limitations that Congress

elsewhere provided in the INA. This provision has typically been invoked in conjunction with

Section 212(f). And consistent with the Executive Branch’s recognition that “this provision

‘substantially overlap[s]’ with” Section 212(f), Hawaii, 585 U.S. at 683 n.1 (quoting Brief for

Petitioners 32-33), the Executive Branch has never before claimed—and indeed has expressly

disavowed—that it empowers the President to “impose [a] condition and limitation on asylum

eligibility.” 89 Fed. Reg. at 81164 n.56.

       D.       The President’s Constitutional Authority.

       54.      The Proclamation also invokes Article II and Article IV, Section 4 of the U.S.

Constitution.

       55.      Article II vests in the President “[t]he executive Power,” U.S. Const. art. II, § 1,

and requires the President to “take Care that the Laws be faithfully executed,” id. § 34.

       56.      Article IV, Section 4 states that the United States “shall guarantee to every State in

this Union a Republican Form of Government” and “shall protect each of them against Invasion.”

       57.      Whatever the outer limits of these authorities, they do not authorize a preclusive

power that permits the President to abrogate Congress’ exclusive procedures for removing

noncitizens, see 8 U.S.C. §§ 1229a, 1225(b), or the statutory protections that Congress has granted

to noncitizens in the United States, see 8 U.S.C. § 1158(a)(1) (asylum); 8 U.S.C. § 1231(b)(3)

(withholding of removal); 8 U.S.C. § 1231 note (CAT protection).

       58.      Immigration, even at heightened levels, does not constitute an “invasion” within

the meaning of Article IV, Section 4 or any other part of the Constitution.

II.    The Proclamation and Its Implementation.

       59.      In November and December 2024, encounters at the Southwest border—including

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both at and in between ports of entry—fell to the “lowest level since August 2020 and lower than

the monthly average for 2019.” CBP, CBP Releases December 2024 Monthly Update,

https://www.cbp.gov/newsroom/national-media-release/cbp-releases-december-2024-monthly-

update (Jan. 14, 2025).

       60.     Nonetheless, on January 20, 2025, the President issued the Proclamation. 90 Fed.

Reg. 8333. This Proclamation marks the first time that any President has asserted that 8 U.S.C.

§§ 1182(f) or 1185(a)(1), or the Constitution, permits the Executive Branch to unilaterally override

the immigration laws Congress enacted for the protection of people who face persecution or torture

if expelled from the United States.

       61.     The preamble states that the President “ha[s] determined that the current situation

at the southern border qualifies as an invasion under Article IV, Section 4 of the Constitution of

the United States.”

       62.     The preamble states that “[t]he INA provides the President with certain emergency

tools”—specifically, 8 U.S.C. §§ 1182(f) and 1185(a)(1). The preamble recognizes that,

“[h]istorically, Presidents have used these statutory authorities [only] to deny entry of designated

classes and categories of [noncitizens] into the United States through ports of entry.” But the

preamble asserts, without citation to authority, that “if the President has the power to deny entry

of any [noncitizen] into the United States, and to impose any restrictions as he may deem

appropriate, this authority necessarily includes the right to deny the physical entry of [noncitizens]

into the United States and impose restrictions on access to portions of the immigration system.”

And the preamble further asserts that, notwithstanding the INA, “[t]he President’s inherent powers

to control the borders of the United States, including those deriving from his authority to control

the foreign affairs of the United States, necessarily include the ability to prevent the physical entry



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of [noncitizens] involved in an invasion into the United States, and to rapidly repatriate them to an

alternative location.”

       63.     Section 1 of the Proclamation states that, pursuant to 8 U.S.C. §§ 1182(f) and

1185(a), “the entry into the United States” of noncitizens engaged in the “invasion across the

southern border is detrimental to the interests of the United States” and that entry into the United

States “shall be suspended” until the President issues a “finding that the invasion at the border has

ceased.” Section 2 states that these same noncitizens “are restricted from invoking provisions of

the INA that would permit their continued presence in the United States, including, but not limited

to, [the asylum statute], 8 U.S.C. 1158, until [the President] issue[s] a finding that the invasion at

the southern border has ceased.”

       64.     Neither Section 1 nor Section 2 defines the class of noncitizens they cover, stating

only that the provisions apply to noncitizens “engaged in the invasion across the southern border.”

Sections 1 and 2 do not distinguish between individuals who cross between ports of entry and

those who present at ports of entry and, accordingly, appear to cover both groups.

       65.     Section 3, also issued pursuant to 8 U.S.C. §§ 1182(f) and 1185(a), asserts that the

entry of noncitizens who do not provide federal officials “with sufficient medical information and

reliable criminal history and background information as to enable fulfillment of the requirements

of … 8 U.S.C. 1182(a)(1)-(3)[] is detrimental to the United States.” These provisions of the INA

set forth grounds of inadmissibility related to health, crimes, and national security. Section 3 of

the Proclamation then suspends entry of noncitizens who do not provide such information and

restricts their access to the asylum and other INA provisions “that would permit their continued

presence in the United States.” The Proclamation does not acknowledge that the INA makes those

protections available to noncitizens who are inadmissible on these or other grounds



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       66.     Section 4 of the Proclamation, relying on purported “authorities provided to the

[President] under Article II of the Constitution” and “the guarantee of protection against invasion

required by Article IV,” “suspend[s] the physical entry of any [noncitizen] engaged in the invasion

across the southern border of the United States.” Section 4 further directs the DHS Secretary “to

take appropriate actions … to achieve the objectives of this proclamation.” Section 4 does not

expressly state whether the President has invoked these constitutional powers only to prevent

noncitizens from physically entering the United States, as opposed to expelling them from the

United States. Nor, unlike Sections 2 and 3, does Section 4 state that it restricts access to statutory

protections under the immigration laws concerning the removal of noncitizens already within the

United States. The preamble, however, asserts that the President’s constitutional powers include

the ability “to rapidly repatriate [noncitizens] to an alternative location.”

       67.     Section 5 of the Proclamation directs the DHS Secretary, “in coordination with the

Secretary of State and the Attorney General,” to “take all appropriate action to repel, repatriate, or

remove” all noncitizens engaged in the “invasion across the southern border” until the President

“issue[s] a finding that the invasion at the southern border has ceased.” The Proclamation does not

explain why current levels of border encounters constitute an “invasion ,” identify the point at

which encounter levels would no longer constitute an invasion, and provides no timetable for that

review.

       68.     Defendants are implementing the Proclamation on a large scale and to devastating

effect. On information and belief, Defendants are implementing the Proclamation according to its

terms. In particular, pursuant to the Proclamation, Defendants are summarily expelling noncitizens

who are physically present in the United States without allowing them an opportunity to seek

asylum or withholding of removal and without complying with the procedures required for regular



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removal proceedings under 8 U.S.C. § 1229a or expedited removal proceedings under

Section 1225(b). Asylum seekers are also being systematically expelled from the United States

without being provided credible fear interviews—the absolute minimum that Congress required to

ensure that people subjected to expedited removal would not be returned to persecution or torture.

       69.     On information and belief, Defendants are also relying upon the Proclamation to

deny migrants at the Southern border any meaningful opportunity to apply for CAT protection.

       70.     These expulsions, which Defendants are effectuating to implement and enforce the

Proclamation, are occurring extraordinarily quickly—often within hours—for individuals who can

be flown on military jets to Mexico or their home country directly from the border. People have

been told by Defendants that asylum “does not exist,” have witnessed materials about the asylum

process being torn from facility walls by Defendants, and have been expelled by Defendants

without being offered a chance to make a phone call to anyone, much less an attorney. Defendants

are holding noncitizens who cannot be removed so expeditiously in ICE or CBP custody until a

flight is available and are still denying them access to asylum and the other forms of protection

that Congress has provided by statute.

       71.     None of the sources of law on which the Proclamation relies—Section 1182(f),

Section 1185(a)(1), or the Constitution—applies here or can lawfully displace the protections set

out in the asylum statute, the withholding of removal statute, FARRA, TVPRA, the expedited

removal statute, or the other provisions of the INA.

       72.     Even under the standards articulated in Trump v. Hawaii, the Proclamation does

not satisfy the predicate requirements for invoking Section 212(f). First, the Proclamation fails to

define the “class of [noncitizens]” whose entry is suspended, as Section 212(f) requires, insofar as

it purports to apply to noncitizens “engaged in the invasion across the southern border” without



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further defining which noncitizens it covers. Second, the Proclamation does not satisfy Section

212(f)’s predicate requirement that the President must adequately “find” that the entries it restricts

“would be detrimental to the interests of the United States,” particularly because all or nearly all

of the noncitizens subject to the Proclamation are already inadmissible . Third, insofar as the

Proclamation rests on a finding that it would be detrimental to the interests of the United States to

apply Congress’s statutes providing access to asylum and other forms of protection to individuals

covered by the Proclamation, this finding cannot sustain the Proclamation. Congress via statute

has determined that noncitizens must be able to access asylum and other forms of protection.

                                   HARMS TO PLAINTIFFS

       73.     RAICES’ core work includes representing noncitizens—including adults, children,

and families—in regular removal proceedings under 8 U.S.C. § 1229a and in bond proceedings

before the immigration courts and the Board of Immigration Appeals. In regular removal

proceedings RAICES represents people seeking asylum, withholding of removal, and protection

under CAT, among other forms of relief. RAICES is also one of the very few organizations that

provides telephonic counseling to individuals detained in CBP custody. Representing noncitizens

in accessing and navigating the credible fear process is a central component of RAICES’ work.

       74.     The Proclamation seriously impedes RAICES’ core work and activities. The

Proclamation provides for the summary expulsion of noncitizens without the ability to raise claims

for asylum, withholding of removal, and CAT protection pursuant to the credible fear process and

the other safeguards of the immigration statutes. As a result, the Proclamation eliminates RAICES’

ability to engage in its core work of representing noncitizens in the credible fear process to which

they are entitled by statute. With the Proclamation in effect, RAICES has stopped receiving calls

from individuals and families in CBP custody seeking assistance with the credible fear process.



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       75.        In addition, the Proclamation prevents noncitizens from passing credible fear

interviews and being referred to regular removal proceedings, or otherwise being placed in regular

removal proceedings, where they would have the chance to have full hearings on the merits of

their claims for protection. The Proclamation therefore eliminates RAICES’ ability to represent

newly arriving noncitizens with protection needs both in regular removal proceedings as well as

in the credible fear process. The Proclamation therefore seriously impairs RAICES’ ability to carry

out its core work and organizational activities.

       76.        RAICES is being required to divert resources to respond to the Proclamation’s

impact on its operations. Among other things, RAICES must expend resources studying the

Proclamation and attempting to ascertain its full scope and impact, about which Defendants have

provided no public guidance; searching for alternate ways to contact detained individuals and

families to provide information and legal services; updating “know your rights” materials; and

training staff on the Proclamation and these other operational changes.

       77.        Las Americas’ core work includes representing asylum seekers and noncitizens

detained by the U.S. government in both expedited removal proceedings under 8 U.S.C. § 1225(b)

and regular removal proceedings under 8 U.S.C. § 1229a. In regular removal proceedings, Las

Americas represents detained people seeking asylum, withholding of removal, and protection

under the CAT, among other forms of relief from removal. In expedited removal proceedings, Las

Americas provides consultation and legal representation to asylum seekers throughout the credible

fear interview process, including assistance in seeking immigration judge review of negative

credible fear determinations by asylum officers. In addition, Las Americas provides services on

the Mexico side of the border, educating people who intend to seek asylum about the process that

they will face.



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       78.       The Proclamation seriously impedes Las Americas’ core work and activities. The

Proclamation provides for the summary removal of noncitizens without the ability to raise claims

for asylum, withholding of removal, and CAT protection pursuant to the credible fear process and

the other safeguards of the immigration statutes. As a result, the Proclamation eliminates Las

Americas’ ability to engage in its core work of representing noncitizens in the credible fear process

to which they are entitled by statute.

       79.       In addition, the Proclamation prevents noncitizens from passing credible fear

interviews and being referred to regular removal proceedings, or otherwise being placed in regular

removal proceedings, where they would have the chance to have full hearings on the merits of

their claims for protection. The Proclamation therefore eliminates Las Americas’ ability to

represent newly arriving noncitizens with protection needs in regular removal proceedings as well

as in the credible fear process. The Proclamation therefore seriously impairs Las Americas’ ability

to carry out its core work and organizational activities.

       80.       Las Americas is being required to divert resources to respond to the Proclamation’s

impact on its operations. Among other things, it must expend resources studying the Proclamation

and seeking to ascertain its full scope, about which Defendants have provided no public guidance,

in order to provide appropriate counsel to noncitizens; divert resources to respond to questions

about the Proclamation and present emergency “know your rights” sessions; and revise the

materials its staff use to provide guidance to people in Mexico planning to seek protection in the

United States.

       81.       The Florence Project’s core work includes providing free legal services to detained

adults and unaccompanied children throughout Arizona. This includes providing services to people

seeking asylum, withholding of removal, and CAT protection, in both expedited removal



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proceedings under 8 U.S.C. § 1225(b) and regular removal proceedings under 8 U.S.C. § 1229a.

In addition, the Florence Project provides services on the Mexico side of the border, educating

people who intend to seek asylum about the process that they will face.

       82.     The Proclamation seriously impedes the Florence Project’s core work and

activities. The Proclamation provides for the summary removal of noncitizens without the ability

to raise claims for asylum, withholding of removal, and CAT protection pursuant to the credible

fear process and the other safeguards of the immigration statutes. As a result, the Proclamation

eliminates the Florence Project’s ability to engage in its core work of representing noncitizens in

the credible fear process to which they are entitled by statute.

       83.     In addition, the Proclamation prevents noncitizens from passing credible fear

interviews and being referred to regular removal proceedings, or otherwise being placed in regular

removal proceedings, where they would have the chance to have full hearings on the merits of

their claims for protection. The Proclamation therefore eliminates the Florence Project’s ability to

represent newly arriving noncitizens with protection needs in regular removal proceedings as well

as in the credible fear process. The Proclamation therefore seriously impairs the Florence Project’s

ability to carry out its core work and organizational activities. The Florence Project has not been

able to serve a single noncitizen who entered the United States since the Proclamation took effect

and it has been denied access to detention facilities where these noncitizens are being held.

       84.     The Florence Project is being required to divert resources to respond to the

Proclamation’s impact on its operations. Among other things, it has had to quickly update materials

explaining asylum law and the procedures to seek asylum; spend additional time educ ating the

community on these changes, including at a single event that had more than 100 participants; add

hotline hours; change signage for posting in jails; and expend time and resources seeking to



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identify new ways to try to provide people with information about their rights .

          85.     In addition, Plaintiffs face a risk of lost funding. Because these organizations

receive funding that is meant, in large part, to be spent serving asylum seekers and people who

have recently arrived in the United States, the indefinite block on access to the U.S. immigration

system is likely to reduce each organization’s asylum-seeking client base, which will in turn

influence funding that is based on the number of individuals served.

                                       CAUSES OF ACTION

                              FIRST CLAIM FOR RELIEF
                (VIOLATION OF THE ASYLUM STATUTE, 8 U.S.C. § 1158(a)(1))

          86.     All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          87.     The INA provides that, with certain exceptions not applicable here, “[a]ny

[noncitizen] who is physically present in the United States or who arrives in the United States

(whether or not at a designated port of arrival … ), irrespective of such [noncitizen’s] status, may

apply for asylum in accordance with this section or, where applicable, [8 U.S.C.] § 1225(b).” 8

U.S.C. § 1158(a)(1). Both DHS and DOJ have promulgated regulations implementing the asylum

statute. See, e.g., 8 C.F.R. § 208.13 (DHS); 8 C.F.R. § 1208.13 (DOJ).

          88.     The Proclamation and Defendants’ actions to implement and enforce the

Proclamation violate 8 U.S.C. § 1158(a)(1) and its implementing regulations by barring

noncitizens in the United States from applying for or receiving asylum.

          89.     None of the sources of law on which the Proclamation relies—Section 1182(f),

Section 1185(a)(1), or the Constitution—applies here or can lawfully displace the protections set

out in Section 1158(a)(1) and its implementing regulations.




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                          SECOND CLAIM FOR RELIEF
            (VIOLATION OF THE WITHHOLDING OF REMOVAL STATUTE,
                              8 U.S.C. § 1231(b)(3))

          90.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          91.   The withholding of removal statute, 8 U.S.C. § 1231(b)(3), precludes the removal

of noncitizens to countries where it is more likely than not that their “life or freedom would be

threatened … because of [their] race, religion, nationality, membership in a particular social group,

or political opinion.” Both DHS and DOJ have promulgated regulations implementing this

provision. See 8 C.F.R. § 208.16(b) (DHS); 8 C.F.R. § 1208.16(b) (DOJ).

          92.   The Proclamation and Defendants’ actions to implement and enforce the

Proclamation violate 8 U.S.C. § 1231(b)(3) and its implementing regulations by barring

withholding of removal for noncitizens in the United States.

          93.   None of the sources of law on which the Proclamation relies—Section 1182(f),

Section 1185(a)(1), or the Constitution—applies here or can lawfully displace the protections set

out in Section 1231(b)(3) and its implementing regulations.

                       THIRD CLAIM FOR RELIEF
(VIOLATION OF THE FOREIGN AFFAIRS REFORM AND RESTRUCTURING ACT
               OF 1998, CODIFIED AT 8 U.S.C. § 1231 NOTE)

          94.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          95.   FARRA, 8 U.S.C. § 1231 note, and applicable DHS and DOJ regulations

implement the CAT and prohibit the government from returning a noncitizen to a country in which

“it is more likely than not that he or she would be tortured.” 8 C.F.R. § 208.16(c)(2) (DHS); 8

C.F.R. § 1208.16(c)(2) (DOJ)

          96.   The Proclamation and Defendants’ actions to implement and enforce the

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Proclamation violate FARRA and its implementing regulations by depriving noncitizens of a

meaningful opportunity to present CAT claims.

          97.     None of the sources of law on which the Proclamation relies—Section 1182(f),

Section 1185(a)(1), or the Constitution—applies here or can lawfully displace or undermine the

protections set out in the Convention Against Torture and FARRA.

                            FOURTH CLAIM FOR RELIEF
                (VIOLATION OF THE TRAFFICKING VICTIMS PROTECTION
                     REAUTHORIZATION ACT, 8 U.S.C. § 1232(a)(5)(D))

          98.     All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          99.     The TVPRA, 8 U.S.C. § 1232(a)(5)(D), mandates that “[a]ny unaccompanied

[noncitizen] child sought to be removed by [DHS],” except certain unaccompanied children from

Canada or Mexico, “shall be … placed in [regular] removal proceedings” in immigration court

under 8 U.S.C. § 1229a.

          100.    Insofar as the Proclamation and implementation deprive unaccompanied children

from non-contiguous countries of the right to a hearing in regular removal proceedings, or to seek

asylum, withholding or CAT protection, they violate the TVPRA.

          101.    None of the sources of law on which the Proclamation relies—Section 1182(f),

Section 1185(a)(1), or the Constitution—applies here or can lawfully displace or undermine the

protections set out in the TVPRA.

                           FIFTH CLAIM FOR RELIEF
            (VIOLATION OF THE IMMIGRATION AND NATIONALITY ACT,
                             8 U.S.C. § 1101, ET SEQ.)

          102.    All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          103.    The INA, 8 U.S.C. § 1101, et seq., sets out the sole mechanisms established by

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Congress for the removal of noncitizens.

       104.    The INA provides that removal proceedings before an immigration judge under 8

U.S.C. § 1229a are “the sole and exclusive procedure” by which the government may determine

whether to remove an individual, “[u]nless otherwise specified” in the INA. 8 U.S.C.

§ 1229a(a)(3). One mechanism otherwise specified in the INA is the expedited removal system,

including its credible fear screening process. Id. § 1225(b)(1). The expedited removal statute states

that if a noncitizen “indicates either an intention to apply f or asylum under section 1158 of this

title or a fear of persecution, the officer shall refer the [noncitizen] for an interview by an asylum

officer,” and the noncitizen may not be removed pending that interview and, if requested, review

by an immigration judge. Id. § 1225(b)(1)(A)(i)-(ii). The expedited removal statute further

provides that a noncitizen “who may be eligible” for “the asylum interview [just] described” has a

right to be provided “information concerning the asylum interview” and to “consult with a person

or persons of the [noncitizen]’s choosing prior to the interview.” Id. § 1225(b)(1)(B)(iv). And the

expedited removal statute provides that the government “shall provide by regulation and upon the

[noncitizen’s] request for prompt review by an immigration judge of a determination … that the

[noncitizen] does not have a credible fear of persecution,” including “an opportunity for the

[noncitizen] to be heard and questioned by the immigration judge, either in person or by telephonic

or video connection.” Id. § 1225(b)(1)(B)(iii)(III).

       105.    The Proclamation and Defendants’ actions to implement and enforce the

Proclamation are unlawful because they result in removals without compliance with the procedures

required by the INA and its implementing regulations, including the requirements to refer for

credible fear interviews noncitizens who indicate an intention to apply for asylum or a fear of

persecution; to provide information about credible fear interviews to noncitizens who may be



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eligible; and to provide for review of adverse credible fear determinations by immigration judges.

          106.   None of the sources of law on which the Proclamation relies—Section 1182(f),

Section 1185(a)(1), or the Constitution—applies here or can lawfully displace the procedures

required by the INA and its implementing regulations.

                      SIXTH CLAIM FOR RELIEF
   (SUBSTANTIVE VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT,
                          5 U.S.C. § 706(2)(A))

                     (Applicable to all Defendants except President Trump)

          107.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          108.   The APA requires courts to hold unlawful and set aside any agency action that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.

§ 706(2)(A).

          109.   The Departments of Homeland Security, State, and Justice are “agenc[ies]” under

the APA. 5 U.S.C. § 551(1).

          110.   In implementing the Proclamation, as set out above, Defendants have acted contrary

to 8 U.S.C. §§ 1158(a)(1), 1225, 1229a, 1231(b)(3), 1231 note, and 1232(a)(5)(D), as well as their

implementing regulations.

          111.   None of the sources of law on which the Proclamation relies—Section 1182(f),

Section 1185(a)(1), or the Constitution—applies here or can lawfully displace the provisions of

law described in the prior paragraph.

          112.   Further, in implementing and enforcing the Proclamation, Defendants have acted

arbitrarily and capriciously. Among other arbitrary actions and omissions, Defendants have failed

to provide reasoned explanations for their actions; failed to consider relevant factors; relied on

factors Congress did not intend to be considered; and departed from past practices and po licies

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without reasoned explanations for doing so.

                    SEVENTH CLAIM FOR RELIEF
   (PROCEDURAL VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT,
                        5 U.S.C. § 706(2)(D))

                     (Applicable to all Defendants except President Trump)

          113.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          114.   The APA requires courts to hold unlawful and set aside any agency action taken

“without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

          115.   The Departments of Homeland Security, State, and Justice are “agenc[ies]” under

the APA. 5 U.S.C. § 551(1).

          116.   In implementing and enforcing the Proclamation, Defendants have changed the

substantive rights of noncitizens physically present within the United States to seek asylum,

withholding of removal, or protection under the CAT and have departed from the procedural and

substantive standards set forth in their regulations implementing the INA, without following the

rulemaking procedures required by the APA, see 5 U.S.C. § 553.

                             EIGHTH CLAIM FOR RELIEF
                       (VIOLATION OF SEPARATION OF POWERS)

          117.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          118.   Under fundamental separation-of-powers principles, the President cannot ignore or

override Congress’s careful and longstanding decisions to provide protections for noncitizens

fleeing danger.

          119.   The Proclamation and Defendants’ actions to implement the Proclamation violate

these separation-of-power principles and exceed the President’s constitutional authority.


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                                  PRAYER FOR RELIEF

WHEREFORE Plaintiffs request that the Court grant the following relief:

       a.     Declare that the Proclamation is unlawful in its entirety;

       b.     Enjoin Defendants from implementing or enforcing the Proclamation and vacate

any implementing guidance;

       c.     Require Defendants to pay Plaintiffs reasonable attorneys’ fees and costs;

       d.     Grant any other and further relief that this Court may deem just and proper.

Dated: February 3, 2025                       Respectfully submitted,

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